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FILED
IN THE UNITED STATES DISTRICT COURT APR 15 2021
FOR THE NORTHERN DISTRICT OF OHIO SE#i45, 05197 coun,
CLEVE! OHI

ee OF OHIO

EASTERN DIVISION

UNITED STATES OF AMERICA,

i

Plaintiff,

, cond 21 CR258

Title 18, United States Code,

JOSHUA GLOWACKI, Sections 2252(a)(2) and
2252A(a)(5)(B)
Defendant.
COUNT 1
(Receipt of Visual Depictions of Real Minors Engaged In Sexually Explicit Conduct, 18 U.S.C.
~§ 2252(a)(2))

The Grand Jury charges:

1. From on or about December 24, 2019 through on or about March 23, 2021, in the
Northern District of Ohio, Eastern Division, and elsewhere, Defendant JOSHUA GLOWACKI
did knowingly receive, using any means and facility of interstate and foreign commerce,
numerous computer files, which files contained visual depictions of real minors engaged in
sexually explicit conduct, and which files had been shipped and transported in and affecting
interstate and foreign commerce, as defined in Title 18, United States Code, Section 2256(2), in
violation of Title 18, United States Code, Section 2252(a)(2).

COUNT2
(Possession of Child Pornography, 18 U.S.C. § 2252A(a)(5)(B))
The Grand Jury further charges:
2. On or about March 23, 2021, in the Northern District of Ohio, Eastern Division, .

Defendant JOSHUA GLOWACKI did knowingly possess a Samsung cell phone, which

INDICTMEMNN GE ADAMS
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contained child pornography as defined in Title 18, United States Code, Section 2256(8), which
child pornography had been shipped and transported in interstate and foreign commerce by any
means, including by computer, and which was produced using materials which had been shipped
and transported in interstate and foreign commerce by any means, including by computer, and at
least one image involved in the offense involved a prepubescent minor or a minor who had not

attained 12 years of age, in violation of Title 18, United States Code, Section 2252A(a)(5}(B).

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.

